          Case 20-34682 Document 566 Filed in TXSB on 02/26/21 Page 1 of 2
                                      Electronic Appearance Sheet


Christopher Raleigh, Cozen O'Connor, PC
Client(s): Billybey Marina Services, LLC

Paul Hofmann, Hofmann & Schweitzer
Client(s): Christopher Bailey, et al.

Matthew Tashman, Reed Smith LLP
Client(s): Wells Fargo Bank, National Association

Stuart Kaufman, Portage Point Partners
Client(s): Bouchard

Hector Duran, U.S. Department of Justice
Client(s): U.S. Trustee

Genevieve M Graham, Jackson Walker LLP
Client(s): Debtors

Matthew D. Cavenaugh, Jackson Walker LLP
Client(s): Debtors

Ryan Bennett, Kirkland & Ellis LLP
Client(s): Debtors

Rick Kincheloe, USAO/SDTX
Client(s): United States

Anna Rotman, Kirkland & Ellis LLP
Client(s): Debtors

Michael Rubenstein, Liskow
Client(s): Yellow Fin Marine Consulting, LLC

Christopher Guhin, Stroock & Stroock & Lavan LLP
Client(s): Hartree Partners, LP

Frank Merola, Stroock & Stroock & Lavan LLP
Client(s): Hartree Partners, LP

Ben Winger, Kirkland & Ellis LLP
Client(s): Debtors

Benjamin Kadden, Lugenbuhl, Wheaton, Peck, Rankin & Hubbard
Client(s): Hartree Partners, LP

Coleman Torrans, Lugenbuhl, Wheaton, Peck, Rankin & Hubbard
Client(s): Hartree Partners, LP



Page 1 of 2
          Case 20-34682 Document 566 Filed in TXSB on 02/26/21 Page 2 of 2
                                      Electronic Appearance Sheet


Michael Chalos, Chalos & Co, P.C.
Client(s): Bouchard Transportation Co.

Tyson Lomazow, Milbank LLP
Client(s): Fortress Credit Co. LLC

Briton Sparkman, Chalos & Co, P.C.
Client(s): Bouchard Transportation Co.

Allison Colon, Bland Partners, LLP
Client(s): VT Halter Marine, Inc. and ST Engineering & Halter Marine

Tyson Lomazow, Milbank LLP
Client(s): Fortress Credit Co LLC

Tyson Lomazow, Milbank LLP
Client(s): Fortress Credit Co LLC




Page 2 of 2
